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                  EXHIBIT 5
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          coop .......

                                               -                     Texaco




                     PROYECTO HAMACA
                         COl\TVENIO DE ASOCIACION

        Entre las compañías Corpoven, Atlantic
        Richfield, Phillips y Texaco para la
        explotación y mejoramiento de crudo
        extrapesado a ser produ·cido en los bloques H
        y M del área Hamaca de la Faja del Orinoco.




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                                     17.5 Consolidación: Acumulación. Si alguna Parte o cualquier parte de algún
                           Convenio Relacionado o cualquier otra Persona que esté vinculada a éste u otro convenio
                           de arbitraje similar, en relación con el Proyecto o las actividades ejecutadas en -el Area de
                           Proyecto, inicia múltiples procedimientos de arbitraje, las materias objeto o que estén
                           relacionadas con asuntos comunes de ley o hechos y de las que puedan resultar laudos u
                           obligaciones contradictorios, las Partes convienen que tales procedimientos se podrán
                           acumular o consolidar dentro de un procedimiento arbitral único por solicitud de cualquier
                           Parte. Sin perjuicio de lo anterior, las Partes también convienen que cualquier garante de las
                           obligaciones de una Parte conforme a este Convenio o cualquier Convenio Relacionado, se
l                          podrá acumular o consolidar en cualquier arbitraje que se efectúe conforme a este
                           Convenio. Las Partes convienen que cualquier parte de un Convenio Relacionado podrá ser
                           obligada a hacerse parte en cualquier procedimiento de arbitraje. Si cualquier parte en un
:J                         Convenio Relacionado se hace parte en algún arbitraje conforme a lo aquí previsto,
                           cualquier estipulación de tal Convenio Relacionado en relación con la revelación de
e]
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                           información será aplicable. No obstante lo establecido en la Sección 17.2(a), para el caso
                           que en cualquier procedimiento arbitral en el cual Corpoven y la Filial de Corpoven sean
                           partes y los intereses y posiciones de Corpoven y la Filial de Corpoven no sean los mismos,
                           la ICA designará todos los árbitros en el procedimiento arbitral.
J                                   17.6 Costos. Los costos del procedimiento de arbitraje (distintos de los costos
                           relacionados con traducciones). incluyendo honorarios de abogados y costas, serán
                           asumidos de la manera que determine el tribunal arbitral. _

                                  17.7 Renuncia a la Inmunidad. Las Partes deClaran que las actividades
                           contempladas en este Convenio y en los Convenios Relacionados son de naturaleza
                           comercial. En la medida en. que cualquier Parte tenga o pueda llegar a adquirir
   ]                       subsecuentemente cualguier inmunidad a la jurisdicción de cualquier tribunal, o contra
                           cualquier medida cautelar de ejecución o cualquier otro proceso legal (distinto a una medida
   !I                      preventiva) en cualquier acción o procedimiento que de cualquier manera surja de este
  J                        Convenio o cualquier Convenio Relacionado en relación a sí misma o a sus activos, dicha
                                                                                                         ~

                           Parte, por medio del presente, conviene irrevocablemente no invocar dieha inmunidad
:;:1                       como una defensa y renuncia irrevocablemente a dicha inmunidad.
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                                   17.8 Resolución Alternativa a la Disputa. En el caso que cualquier arbitraje o~
                           laudó otorgado de conformidad con un arbitraje efectuado de acuerdo a las disposiciones de
                           este Artículo XVII, sea declarado inválido o inejecutable en Venezuela por cualquier razón,
                           las Partes, a la elección de cualquier de ellas, convienen en someter dicha disputa, que sUIja
                           o esté relacionada de cualquier manera a este Convenio a arbitraje vinculante ante el Centro
                           Internacional para la Resolución de Disputas por Inversión (International Center lor
                           Settlement olInvestment Disputes. en adelante "ICSID"), de conformidad con sus normas
                           de arbitraje vigentes para el momento de dicha disputa. Las Partes acuerdan que a los fines
                           de un arbitraje en la ICSID, las actividades ~ontempladas en este Convenio, constituirán
                           una inversión. En el caso que ICSID no esté dispuesto o sea incapaz de conocer una disputa
                           por cualquier razón, las Partes seleccionarán un foro de arbitraje alterno para determinar la
                           disputa. Sujetas a los requerimientos de este foro, todas las otras disposiciones de este
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                      \}
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      sixty (60) days, after his appointment, taking into account the circumstances requiring an
      expeditious resolution of the matter in dispute; provided. that no failure to make a decision
      within such period shall invalidate the expert's determination. Upon the request of any Party, the
      expert shall hold an expedited, one-day hearing with each Party having equal time to be heard.
      All communications between the Parties and the expert shall be conducted in writing with copies
      sent simultaneously and by the same means to all Parties. If any meetings take place with the
      expert, such as during an inspection of facilities or the explanation of any documents or records,
      then all Parties shall receive reasonable advance notice and be entitled to attend.

                      (d)     The costs and expenses of the expert shall be borne by the Parties in
      proportion to their interests in the Project.

                     17.4 Pre-Judgment Attachment. Except as otherwise specified in Article XI,
      each Party agrees that it shall not, and waives any right it might have to, seek to attach ~sets of
      any other Party prior to issuance of a final arbitral decision pursuant to this Article xvn.

                       17.5 Consolidation; Joinder. If any Party or any party to any Related
      Agreement or any other Person who is bound to this or another similar arbitration agreement in
      connection with the Project or activities conducted in the Project Area initiates multiple
      arbitration proceedings, the subject matters of which are related by common questions of law or .
      fact and which could result in conflicting awards or obligations, the Parties hereby agree that all
      such proceedings may be consolidated into a single arbitral proceeding at the request of any
      Party. Without prejudice to the above, the Parties also agree that any guarantor of a Party's
      obligations under this Agreement or any Related Agreement may be joined or consolidated into
      any arbitration that results under this Agreement. The Parties agree that any party to a Related
      Agreement may be joined as a party in any arbitration proceeding. If any party to a Related
      Agreement is joined in an arbitration hereunder, any provisions of such Related Agreement
      regarding the disclosure of information shall apply. Notwithstanding the provisions of Section
      17.2(a), in the event that in any arbitration proceeding to which Corpoven Sub and Corpoven are
      both parties, the interests and positions of Corpoven Sub and Corpoven are not the same, the ICA
      shall appoint all arbitrators in the arbitration proceeding.

                    17.6 Costs. The costs of the arbitration proceedings (other than costs of
      arrangements for translations), including attorneys' fees and costs, shall be borne in the manner
      determined by the arbitral tribunal.

                      17. 7 Waiver of Immunity. The Parties agree that the activities contemplated by
      this Agreement and the Related Agreements are commercial in nature. To the extent that any
      Party has or hereafter may acquire any immunity from jurisdiction of any court, or from
      attachment in aid of execution or any other legal process (other than pre-judgment attachment) in
      any action or proceeding in any manner arising out of this Agreement or any Related Agreement
      with respect to itself or its assets, such Party hereby irrevocably agrees not to invoke such
      immunity as a defense and irrevocably waives such immunity.




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TRANSPERFECT


          TRANSLATION CERTIFICATE OF ACCURACY
          City of New York, State of New York, County of New York

          I, Aurora Landman, hereby certify the following:

                  I am a project manager employed by TransPerfect Legal Solutions, a professional
          translation company with ISO 17100 certification. TransPerfect Legal Solutions is qualified
          to render accurate translations into English of Spanish language documents.

                This certification relates to The Hamaca Association Agreement (dated July 9, 1997),
          which has been provided to me in both its original Spanish-language version and with an
          accompanying English-language translation.

                 Sections 17.2 and 17.7 from the English-language translation of the foregoing
          agreement are, to the best of my knowledge and belief, true and accurate translations of the
          corresponding sections from the Spanish-language version of the same agreement.




          Aurora Landman                                      s 3 0 t a r y Public

          Sworn to before me this
          April 26, 2018




                                                              Stamp, Notary Public




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                           FIANZA DE PDVSA




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            correspondiente, de todos los pagos que a las Partes les pueda corresponder hacer
            conjuntamente de acuerdo al Convenio o a cualquier Convenio Relacionado. (iv)
            el cumplimiento, y el pago de los daños resultantes del incumplimiento, por parte
            de la Filial de Corpoven, de su cuotaparte de cualesquiera obligaciones conjuntas
            de las Partes de acuerdo con el Convenio o cualquier Convenio Relacionado, y (v)
            el pago de la cuotaparte de la Filial de Corpoven, según se detennine confonne al
            Convenio o al Convenio Relacionado correspondiente, de cualesquiera daños
            resultantes del incumplimiento por las Partes de obligaciones conjuntas de las
            Partes de acuerdo con el Convenio o cualquier Convenio Relacionado. Nada en
            esta Fianza será interpretado como una limitación a la potestad de ninguna Parte
            Extranjera, ni una exigencia a ninguna Parte Extranjera. de requerir al Fiador el
            cumplimiento específico de cualesquiera obligaciones de la Filial de Corpoven
            confonne al Convenio o cualquier Convenio Relacionado en los casos donde un
            cumplimiento específico sea procedente de acuerdo con la ley aplicable.

      8.   Todas las obligaciones del Fiador previstas en esta Fianza obligarán al Fiador y a
           sus sucesores. El Fiador no cederá o delegará sus obligaciones o deberes derivados
           de esta Fianza sin el consentimiento previo y por escrito de cada una de las Partes
           Extranjeras, consentimiento éste que cada una de ellas se podrá abstener de otorgar
           a su sola discreción, y cualquier cesión o delegación que se intente hacer sin dicho
           consentimiento será nula y sin efecto alguno. El Fiador declara que esta Fianza se
           mantendrá en plena vigencia en relación con cualquier cesionario autorizado de las
           obligaciones de la Filial de Corpoven de acuerdo con el Convenio o cualquier
           Convenio Relacionado, en el entendido que tal cesionario sea una Filial de la Filial
           de Corpoven. Una vez realizada dicha cesión, el cesionario será considerado la
           Filial de Corpoven para todos los fines previstos en esta Fianza en la medida de las
           obligaciones cedidas. El Fiador adicionalmente declara que cualquier cesionario
           autorizado de cualquier Parte Extranjera conforme al Convenio o cualquier
           Convenio Relacionado podrá ejercer todos los derechos, acciones y recursos de
           dicha Parte Extranjera de acuerdo con esta Fianza. Ninguna otra Persona será un
           beneficiario de esta Fianza o tendrá o adquirirá algún derecho en razón de ella,
           bajo ninguna circunstancia. El Fiador conviene en que no transferirá O cederá, ni
           permitirá a sus Filiales transferir o ceder, sin el previo consentimiento de cada una
           de las Partes Extranjeras, el cual cada una de ellas podrá abstenerse de dar a su
           sola discreción, cualquier participación directa o indirecta que pudiere tener en la
           Filial de Corpoven, si, como resultado de dicha transferencia o cesión, cualquier
           obligación del Fiador (o derecho de las Partes Extranjeras) confonne a esta Fianza,
           se restringiría o tenninaría.

      9.   De acuerdo con los requisitos del Acuerdo de fecha 24 de abril de 1997, publicado
           en la Gaceta Oficial de la República de Venezuela, No. 36.209, de fecha 20 de
           mayo de 1997 esta es una fianza que garantiza actividades comerciales (a ser
           llevadas a cabo por las Partes en su condición de participantes en la Asociación
           celebrada conforme al Convenio), y, como tal, esta Fianza de ninguna fonna puede
           considerarse como una fianza de la República de Venezuela. En la medida en que


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          el Fiador tenga, o subsecuentemente, pueda llegar a adquirir cualquier inmunidad a
          la jurisdicción de cualquier tribunal, o contra cualquier medida cautelar de
          ejecución o cualqu ier otro proceso legal (distinto a una medida preventiva) en
          cualquier acción o procedimiento que de cualquier manera surja de esta Fianza en
          relación al Fiador o a sus activos, dicho Fiador por medio de la presente, conviene
          irrevocablemente, en no invocar dicha inmunidad como una defensa y renuncia
          irrevocablemente a dicha inmunidad.

    10.   Esta Fianza se regirá e interpretará de acuerdo con las leyes de la República de
          Venezuela.

    11.    Cualquier omisión o retardo de cualquier Parte Extranjera en ejercer cualquier
          derecho, en todo o en parte, de los previstos en esta Fianza, no se interpretará
          como una renuncia al ejercicio del mismo ni de cualquier otro derecho .

    12.   Ninguna enmienda o modificación a esta Fianza será efectiva a menos que conste
          por escrito y sea finnada por el Fiador y cada una de las Partes Extranjeras.

    13. Cualquier disputa que surja de, o se relacione de cualquier manera con, esta Fianza
        o su ejecución, será resuelta exclusiva y definitivamente mediante arbitraje. El
        arbitraje estara regido y sera resuelto en fonna definitiva de confonnidad con las
        Nonnas de Conciliación y Arbitraje de la Corte Internacional de Arbitraje (en
        adelante " ICA" ) de la Cámara Internacional de Comercio (en adelante las
        "Nonnas ICC"). El Fiador designará a un (1) árbitro y la Parte Extranjera (o si hay
        más de una Parte Extranjera en la disputa, colectivamente las Partes Extranjeras)
        designará a un (1) árbitro, y si el Fiador o la Parte Extranjera (o las Partes
        Extranjeras colectivamente) no lo designan dentro de los treinta (30) días
        siguientes al recibo de la notificación del comienzo del arbitraje, la ICA designará
        UIL arbitro en representación de tal parte. Los dos (2) árbitros así designados, bien
        por las partes o en representación de cada parte, designarán el tercer árbitro, quien
        presidirá, dentro de los treinta (30) días siguientes después que el último de los
        dos árbitros haya sido designado por, O en representación de! Fiador y de la Parte
        Extranjera (o colectivamente las Partes Extranjeras). Si los dos (2) árbitros así
        designados no pudieren acordar dentro de los treinta (30) días siguientes después
        de que el último de los dos árbitros haya sido designado por, o en representación
        del Fiador o de la Parte Extranjera (o colectivamente las Partes Extranjeras) sobre
        quien será e! tercer árbitro quién presidirá, y dicho lapso no es prorrogado,
        entonces e! árbitro quién presidirá será designado por la ICA tan rápidamente
        como fuere posible.

          Ningún árbitro tendrá ningún interés financiero, directo o indirecto, en la disputa,
          ni dependerá financieramente, en fonna alguna directa o indirectamente, de
          cualquier parte de la disputa. Todos los árbitros serán imparciales y deberán
          obedecer las Reglas de Etica para Arbitros Internacionales del Inlernational Bar
          Association. El árbitro quien presida no será de la misma nacionalidad que


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         (iv) compliance with and payrnent of damages resulting from failure by the
         Corpoven Affiliate to pay its share of any joint obligations of the Parties under the
         terms of the Agreement or any Related Agreement, and (v) payrnent of the
         Corpoven Affiliate' s share, as specified by the Agreement or the corresponding
         Related Agreement, of any damages resulting from failure by the Parties to
         comply with the joint obligations of the Parties under the terms of the Agreement
         or any Related Agreement. None of the provisions of this Guarantee will be
         interpreted in such a way as to restrict the authority of any Foreign Party or to
         limit any Foreign Party's right to require that the Guarantor be subject to specific
         performance of any of the obligations of the Corpoven Affiliate under the terms
         of the Agreement or any Related Agreement in situations where specific
         performance is allowed under the terms of applicable law.

      8. AIl obligations of the Guarantor described in this Guarantee will be binding upon
         the Guarantor and its successors. The Guarantor will not assign or delegate its
         obligations or duties under the terms of this Guarantee without the prior, written
         consent of each of the Foreign Parties, and any of the Foreign Parties may deny its
         consent at its sole discretion, and any assignment or delegation without the
         consent of the Foreign Parties will be null, void and invalido The Guarantor
         declares that this Guarantee will remain in full force and effect with respect to any
         authorized assignee of the obligations of the Corpoven Affiliate under the terms
         of the Agreement or any Related Agreement, if and when the assignee is an
         Affiliate of the Corpoven Affiliate. Once the assignment is formalized, the
         assignee will be considered to be the Corpoven Affiliate for all intents and
         purposes as set forth in this Guarantee with respect to the assigned obligations.
         The Guarantor furthermore declares that any authorized assignee of any Foreign
         Party under the terms of the Agreement or any Related Agreement may exercise
         all rights, actions and recourses to which the Foreign Party is entitled under the
         terms of this Guarantee. No other Person will be a beneficiary of this Guarantee
         or will hold or acquire any right related to the Guarantee under any circumstance.
         The Guarantor agrees that it will not transfer or assign, nor will it allow its
         Affiliates to transfer or assign any obligations under the terms of this Guarantee
         without the prior consent of each of the Foreign Parties, and any of the Foreign
         Parties may refuse, at its sole discretion, to give any direct or indirect
         participation which the party could have in the Corpoven Affiliate if, as a result of
         the transfer or assignment, any obligation of the Guarantor (or the right of the
         Foreign Parties) under the terms of this Guarantee, would be restricted or
         terminated.

      9. Pursuant to the requirements of the Resolution dated April 24, 1997, published in
         the Official Gazette ofthe Republic ofVenezuela No. 36.209 on May 20, 1997,
         this guarantee corresponds to commercial activities (conducted by the Parties in
         their capacity as participants in the Association formed under the terms of the
         Agreement) and that, as such, this Guarantee may in no way be considered to be a
         guarantee offered by the Republic ofVenezuela To the extent that the Guarantor

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         has or subsequent1y may come to acquire any irnmunity to the jurisdiction of any
         court, or against any interim relief measure or any other legal process (other than
         interim relief) in any action or process in any way related to this Guarantee with
         respect to the Guarantor or its assets, the Guarantor hereby irrevocably agrees not
         to invoke irnmunity as a defense and irrevocably waives the irnmunity in
         question.

      10. This Guarantee will be governed and interpreted in accordance with the laws of
          the Republic ofVenezuela.

      11. Any omission or delay by any Foreign Party in fully or partially exercising any
          right described in this Guarantee, will not be interpreted as a waiver of the right to
          exercise the right in question or any other right.

      12. No amendment or modification of this Guarantee will be binding unIess it is in
          writing and signed by the Guarantor and each of the Foreign Parties.

      13. Any disputes resulting frorn or related to this Guarantee or its performance will be
          resolved exc1usively by arbitration and any arbitration ruling will be binding. The
          arbitration will be governed and conducted in accordance with the Mediation and
          Arbitration Rules of the International Arbitration Court (hereinafter referred to as
          the "ICA'') of the International Chamber of Cornmerce (hereinafter referred to as
          the "ICC Rules"). The Guarantor will appoint one (1) arbitrator and the Foreign
          Parties (or if more than one Foreign Party is involved in the dispute, collectively,
          the Foreign Parties) will appoint one (1) arbitrator, and if the Guarantor or the
          Foreign Party (or the Foreign Parties collectively) fail to appoint their arbitrators
          within a period of thirty (30) days following receipt of the notice of the initiation
          of the arbitration process, the ICA will appoint an arbitrator to represent the party
          in question. The two (2) arbitrators thus appointed, either by the parties or in
          representation of the parties, will appoint the third arbitrator, who will preside
          over the arbitration court, with a period of thirty (30) days following the date on
          which the last of the two arbitrators is appointed by or in representation of the
          Guarantor and the Foreign Party (or the Foreign Parties collective1y). If the two
          (2) arbitrators thus appointed are unable to reach an agreement regarding the
          appointment of the third arbitrator to preside over the arbitration court within a
          period of thirty (30) days following the date on which the last of the two
          arbitrators is appointed by or in representation of the Guarantor or the Foreign
          Party (or the Foreign Parties collectively), and if the deadline is not extended,
          then the arbitrator who will preside of the arbitration court will be appointed by
          the ICA as soon as possible.

         No arbitrator may have any direct or indirect financial interest in the dispute, nor
         may any arbitrator be a direct or indirect financial dependent of any of the parties
         to the dispute. AIl arbitrators will be impartial and will be subject to the Rules of
         Ethics for International Arbitrators issued by the International Bar Association.

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     TRANSLATION CERTIFICATE OF ACCURACY
     City of New York, State of New York, County of New York

     I, Aurora Landman, hereby certify the following:
             I am a project manager employed by TransPerfect Legal Solutions, a professional
     translation company with ISO 17100 certification. TransPerfect Legal Solutions is qualified to
     render accurate translations into English of Spanish language documents.
            This certification relates to The Hamaca Guarantee (dated July 9, 1997), which has been
     provided to me in both its original Spanish-language version and with an accompanying English-
     language translation.

              Sections 9, 10 and 13 from the English-language translation of the foregoing guarantee
     are, to the best of my knowledge and belief, true and accurate translations of the corresponding
     sections from the Spanish-language version of the same guarantee.




     Aurora Landman                                           ~           Notary Public

     Sworn to before me this
     April 26, 2018




                                                              Stamp, Notary Public




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                                   ANEX O"P"
                      CONTRATO DE GARANTIA E INDEMNIZACION .
                                    (PDVSA)

                                                                           se suscribe el10
   Este contrato de garantla (en 10 adelante referido como la "Garantia~l)
                                                                          fHa constituida de
   de noviembre de 1995, entre CONOCO ORINOCO INC., una compa
                                                                       Unidos de America,
   conformidad con las leyes del Estado de Delaware, Estados
                                                                               S. Nicandros,
   representada en este acto por su apoderado, senor Constandino
                                                                      Directorio de fecha 5
   debidamente autorizado de conformidad con una resolucion del
                                                                        y PETROLEOS DE
   de Octubre de 1995 (en 10 adelante referida como "CONOCD")
                                                                      leyes de la Republica
   VENEZUELA S.A., compania constituida de conformidad con las
                                                                          en su caracter de
   de Venezuela, representada en este acto por el senor Claus Graf,
                                                                       nte acta numero 95-
   Vice-Presidente, debidamente autorizado por el Directorio, media
                                                                          A").
   49 del 7 de Noviembre de 1995 (en 10 adelante referida como "PDVS

                                     CONSIDERANDOS

                                                                      da por e\ Congreso
    CONSIDERANDO, que de conformidad con la autorizacion otorga
                                                                    35.293 de fecha 9 de
    de la Republica de Venezuela, publicada en la Gaceta Oficial N°
                                                                          s"), CONOCO y
     Diciembre de 1993 (en 10 adelante referida como las "Condicione
                                                                    con las \eyes de la
    MARAVEN S.A, una compania constituida de conformidad
                                                                        de PDVSA (en 10
     Republica de Venezuela, la cual es propiedad en su totalidad
                                                                      de este documento,
     adelante referida como "MARAVEN") , simultaneamente a la firma
                                                                           el "Convenio de
     suscribiran un acuerdo de asociacion (en 10 adelante referido como
                                                                     tuiran en Venezuela
     Asociacion"), bajo cuyos terminos MARAVEN y CONOCO consti
                                                                      a ser denominada
     una asociacion comercial con forma de sociedad anonima
                                                                       te referida como
     PETROLERA ZUATA, PETROZUATA, C.A (en 10 adelan
                                                                   crudo extra pesado en
   . "PETROZUATA"), con eJ proposito de producir comercialmente
                                                                       especificada per el
     un area de- la region de Zuata en .Ia Faja del Orinoco a ser
                                                                       como tambien para
     Ministerie de Energia y Minas de la Republica de Venezuela, as!
                                                                     el crudo mejorado a
     transportar, mejorar dicho crudo extra pesado y comercializar
                                                                      (todas las anteriores
     traves de acuerdos de suministro con Conoco Inc. 0 con terceros
     actividades en 10 adeJante referidas como e\ "Proyecto"); y




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                                                                              de CONOCO que
                                        inistrativo 0 judicial, 0 a solicitar
   disponible, ya sea contractual, adm                                        dicion precedente
                                        s en cualquier medida, como con
   mitigue los daiios y perdidas sufrido                                       umento.
                                       de conformidad con el presente doc
   para cumplir con sus obligaciones
                                                                            en todas sus
         UL O  4. lEY  AP lIC AB lE Y AR  BITRAJE: Esta Garantfa se regira
   ARTIC                                                                         derecho
              fas  Leyes de  la Repub lica de Venezuela y por los principios de
   partes por                                                                        igan
                     eralme nte aceptados  siempre que dichos principios no contrad
   intemacional gen
                                    ezuela.
   las Leyes de la Republica de Ven
                                                                                 su incumplimiento,
                                              en relacion con esta Garantla, 0
    Cualquier disputa que se origine                                              nte resuelta p~r
         inacion,  inte rpre tac ion ,  eje cutoriedad 0 vaJidez. sera finalme
    term                                                                            de Nueva York,
           je con  caract  er vin cul  ante  en  la ciudad de Nueva York, Estado
    arbitra                                                                         y Arbitraje de la
            s Uni dos  de  Am  eric a,  de  acu erdo ala s Reglas de Conciliacion
    Estado                                                                              ignados de
                   Com   ercio   Inte  ma cio nal  de  Paris, por tres (3) arbitros des
     Camara de                                                                             as! como
                d   a  dich as    Reg  las.  Est e  acu erdo de someterse a arbitraje,
     conformida                                                                                 ccion
                         n arb itral,  ser a eje cutado  en  cualquier Corte que tenga jurisdi
     cualquier decisio
    competente.
                                                                                              Congreso de la
         con form   ida d  con   10 est  abl eci do   en la autorizacion otorgada por el
     De                                                                                        a actividades
          ublica     de   Ven  ezu  ela ,   el   obj eto de esta Garantfa se refiere
     Rep
                                          as  p~r una empresa mercantil
                                                                               a ser constituida en virtud de
     comerc   iale s  (a ser   cum  plid
                                                                                                      cual de
                  ion   Est rate gica   ent  re  CO  NO  CO   y la filial de PDVSA, MARAVEN), 10
     la Asociac                                                                                         ela ni
                      nera    com  pro me   te  la  res pon sab  ilidad de la Republica de Venezu
     njnguna ma                                                                                          cipio,
                       NO  CO     rec urs  o   alg uno   con tra   aquella. En virtud de dicho prin
     otorga a CO                                                                                             su
                                  solo  har   a uso   de aqu  ello s me  canismos y defensas que tenga a
      PDVSA acuerda         que
                                                                                            la Republica de
                                                     presa comercial propiedad de
      alcance en su caracter de em                                                           aquellos que le
          ezu  ela ,   de   con  form  ida  d   con    la legislacion aplicable, y no
      Ven                                                                                            o Estado
                  dan    a   la Rep   ubl  ica  de   Ven  ezu ela (0 a su Poder Ejecutivo) com
      correspon
      Soberano.
                                                                            la unica garantla
                                              : Este documento constituye
      ARTICULO 5. ACUERDO UNICO                                               ion y reemplaza
                                           con relacion al Convenio de Asociac
      otorgada por PDVSA a CONOCO                                        sido hecha por 0 en
                   cualquier gar ant la ora l  0 escrita que pueda haber
      y sus tituye




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        AA and the Agreements and PDVSA shall have the right to
        plead any defenses that may be available to MARAVEN
        including, without limitation, AA Section 4.01(d) (iii).
                         Indemnification.        PDVSA shall release, hold
        harmless, indemnify           an~   defend CONOCO from any and all
        liabilities, damages, costs and expenses (including              ~ourt   or
        other costs and reasonable legal fees) resulting from any
        claim, action, suit, arbitration, or regulatory or
        administrative proceeding, in connection with any
        environmental damage or condition arising (even if such
        damage or condition continues to exist or is discovered
        after the Effective Date of the AA) prior to the Effective
        Date of the AA, if, and to the extent, caused by PDVSA or
        any Affiliate of PDVSA. Unless otherwise specifically stated
        herein, PDVSA agrees to honor the terms and conditions of
        the foregoing Guaranty and Indemnification upon demand,
        without setoff or counterclaim,              and hereby waives any
        requirement that CONOCO exhaust any available contractual,
        administrative or judicial remedies, or that CONOCO mitigate
        its damages or loses to any extent, as a condition precedent
        to honoring its obligations hereunder.
                Section         4. Governing Law and Arbitration. This
       Guaranty shall be governed by the laws of Venezuela and by
        generally accepted principles of international law to the
        extent that such principles do not contradict such laws.

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                 All disputes arising in connection with this Guaranty,
         or the breach, termination, interpretation, enforceability
         or validity thereof, shall be finally settled by binding
         arbitration in New York, New York, USA, under the Rules of
        Conciliation and Arbitration of the International Chamber of
        Commerce by three (3) arbitrators appointed in accordance
        with said Rules.               This agreement to arbitrate and any
         resulting award shall be enforceable in any court with
         competent jurisdiction.


                 In accordance with the requirement of the Venezuelan
        Congress in its approval of the AA, this is a Guaranty in
        support of commercial activities (to be performed by a
        mercantile enterprise created pursuant to a Strategic
        Association between CONOCO and PDVSA'S affiliate MARAVEN)
        which in no way grants to CONOCO recourse to the full faith
        and credit of the Republic of Venezuela. Consistent with
        this principle, PDVSA agre'~s that it shall only raise or
        claim or cause to be pleaded defenses available to it as a
               • owned commercial entity under the applicable law
        government
        as opposed to those as may be available to the Republic of
        Venezuela (and its government)as a sovereign state.




                section       s.     Entire Agreement.   This Guaranty shall

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          TRANSLATION CERTIFICATE OF ACCURACY
          City of New York, State of New York, County of New York

          I, Aurora Landman, hereby certify the following:
                  I am a project manager employed by TransPerfect Legal Solutions, a professional
          translation company with ISO 17100 certification. TransPerfect Legal Solutions is qualified
          to render accurate translations into English of Spanish language documents.
                This certification relates to The Petrozuata Guaranty (dated November 10, 1995),
          which has been provided to me in both its original Spanish-language version and with an
          accompanying English-language translation.

                  Section 4 from the English-language translation of the foregoing guaranty is, to the
          best of my knowledge and belief, a true and accurate translation of the corresponding section
          from the Spanish-language version of the same guaranty.




                                                                       •

          Aurora Landman                                       s~otary            Public

          Sworn to before me this
          April 26, 2018




                                                               Stamp, Notary Public




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